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           AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


I, Nicole Osterman, being first duly sworn, do hereby depose and state that:



                                    BACKGROUND
       1, I am a Special Agent with Homeland Security Investigations (HSI),

Immigration and Customs Enforcement, United States Department of Homeland

Security, and have been so employed since April 2023. Prior to HSI, I was employed by

United States Customs and Border Protection as a Customs and Border Protection Officer

from the years 2019 to 2023.1. am an investigative law enforcement officer of the United

States who is empowered to conduct investigations of or to make arrests for offenses

enumerated in Title .18, United States Code, Section 2516, and Title. 21, United States

Code Section 841 offenses. As a Special Agent, my responsibilities include conducting

investigations of the alleged manufacture, distribution and possession of controlled

substances, importation of cdntrotted substances, smuggling of goods into the United

States, firearm's violations, crimes against children, and other federal offenses. As a

Special Agent, my responsibilities include conducting investigations of alleged

manufacturing, distribution or possession of controlled substances, importation of

controlled substances, smuggling of goods mto the United States, and related offenses.

       2. I have attended the Criminal Investigators Training Program, and the

United States Homeland Security Investigations Special Agent Training at the Federal

Law Enforcement Training Center in Glynco, Georgia. I was trained in conductmg

investigations related to dmg smuggling, interdiction, and distribution activities. I am

currently assigned to the Fajardo office, where investigations commonly conducted are

related to violations of Titles 8, 18,19, 21 and 31 of the United States Code ("U.S.C").
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       3. I have participated in narcotics investigations as the case agent. I have

debriefed defendants, witnesses, and informants who had personal knowledge of major

narcotics trafficking organizations. Additionally, I have participated in many aspects of

narcotics investigations including conducting physical surveilla&ce, writing and

executing search warrants, and conducting arrests.


       4. Based on my training, experience, and information from other

investigators, I am familiar with narcotics traffickers' methods of operation including the

distribution, storage, and transportation of narcotics, and the collection of money

proceeds of narcotics trafficking.

       5. I am also familiar with methods employed by large narcotics organizations

to thwart detection by law enforcement, including the use of vague and coded language,

debit calling cards, cellular telephone technology, counter surveillance, false or fictitious

identities, encrypted mobile applications, and encoded communications.

       6. I have received instruction and training and have participated in

investigations involving drug trafficking organizations and the laundering of drug

proceeds. I have used a variety of investigative techniques, including: interviews of

infonnants and cooperating witnesses; physical surveillance; controlled drug purchases;

analyzing telephone pen register and caller identification system data; and search and

arrest warrants that have led to seizures of narcotics, firearms, and other contraband.


       7. Because this Affidavit is submitted for the limited purpose of establishing

probable cause, I have not mcluoEed all details of every aspect of this investigation. I have

set forth only the facts that I believe are necessary to establish probable cause of the

commission of federal crimes or offenses. I am thoroughly familiar with the information
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contained in this Affidavit, either through personal investigation or discussions with other

law enforcement officers involved in the investigation.

       8, This affidavit is submitted in' support of a crimmal complaint charging

KendrickNAZAMO with violations of 21 U.S.C. § 841(a)(l) & (b)(l)(B)(ii): Possession

with Intent to Distribute a Controlled Substance (500 grams or more of cocaine); and 21

U.S.C. §§ 952(a), 960((b)(2)(B): Importation of controlled substance (500 grams or more

of cocaine) into customs territory ofUnited States..

                                      PROBABLE CAUSE

       9. On February 13, 2025, at approximately 07:07 AM, Atlantic Standard

Time, United States Customs and Border Protection FaJardo Marine Unit (FMU) received

infonnation from Caribbean Air, and Marine Operation Center (CAMOC) mvolving a

track of mterest originating from St. Thomas, USVI heading Northeast towards Culebra,

PR, CAMOC personnel acquired video footage from a surveillance tower located in St

Thomas, USVI which has radar and video surveillance capabilities. This video footage

correlated with the CAMOC radar track position in real time, confirming the vessel's

location.


        10. CAMOC personnel contacted CBP FMXJ Agents via cellphone and stated

the vessel could be described as a blue yola'type vessel, with two outboard engines. CBP

FMU Marine Interdiction Agents contacted Puerto Rico Police Bureau CPRPB) assigned

to Culebra Municipality requesting assistance to set. surveillance on the above-described

vessel as it approached Northeast Culebra, PR.

        11. PRPB officers positioned at an elevated vantage point at Zoni beach,

Culebra, PR to conduct surveillance of the vessel as it approached northeast Culebra.
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PRPB agents observed a blue yola type vessel, with two outboard engines which matclied

the description of the information provided to them by 'CBP FMU agents. PRPB observed

the vessel approaching the area of Punta Vaca, PR. PRPB Agents continued to conduct

surveillance on the vessel as it continued to approach Sector La Pica, Culebra, PR where

they observed a male individual with a black colored t-shirt and black shorts who was

later identified as Kendrick NAZARIO. NAZARIO was observed onboard the identified

vessel docked at a pier at Secor La Pica, Culebra, PR. PRPB officers observed the

individual disembark from the vessel with a Uack backpack as he proceeded to walk

towards Road 250.

       12. PRPB officers approached NAZARIO to conduct a consensual encounter.

During their encounter NAZARIO stated he was traveling from St. Thomas, USVL

PRPB officers- obtained permission to search his bag, leading to the discovery of four

brick shaped packages consistent with the size and shape ofkilograms of cocaine.

        13. PRPB officers placed him m handcuffs and read him his Miranda rights in

his' native language of Spanish, PRPB officers brought NAZARIO back to the District of

Culebra, PR police station where he was provided a Miranda rights form. NAZARIO

declined to sign the document and speak to the officers without a lawyer.

        14. CBP FMU arrived at fee district of Puerto Rico Culebra police station to

assist with the transportation ofNAZARIO, the vessel and the brick shaped packages to

the FMU office located in Ceiba, Puerto Rico.

        15. Homeland Security Investigations (HSI) Fajardo and Drug enforcement

Administration (DEA) agents responded to the 'Customs and Border Protection FMU.

Upon arrival, Kendrick NAZARIO was read his Miranda rights in his native language of
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Spanish at which he again declined to provide a statement to agents. At the FMU office,

HSI and FMU agents cut open the bricks and observed what appeared to be a white

powdery substance. A field test was conducted and tested positive for cocaine. The four

bricks of cocaine were weighed and weighed approximately 4.7 kilograms. Below are

photographs of the above-described brick shaped packages containing cocaine and the

field test result:




         16. Based on my experience and the experience of other law enforcement


partners, this specific route used by Kcndrick NAZARIO irom St. Thomas, USVI to

Culebra, PR is recognized as a major conduit for illicit drug transportation and smuggling

and is frequently exploited by traffickers.

         17. Based on my training and experience, the quantity of cocaine shown above

found in NAZARIO's backpack and the manner in which it is packaged shows that the

cocaine is intended for further distribution, not for personal use.
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        18. Further, based on my training and experience drug trafficking

organizations do not entrust quantities of cocaine to individuals not intimately involved in

the organization's illicit activities.

        19. I also know that St. Thomas, although a' United States territory, is outside

of the United States customs territory while Puerto Rico is within the United States

customs temtory.


                                             CONCLUSION

        20. I believe there is probable cause to believe that Kendrick NAZARIO

committed the following federal felony offenses: 21 U.S.G. § 841(a)(l) & (b)(l)(B)(u),

Possession with Intent to Distribute a Controlled Substance (500 grams 'or more' of

cocaine); and 21 U.S.C. §§ 952(a), 960(b)(2)(B), Jmportatloti of controlled substance

(500'grams or more of cocaine) into customs territory of the United States.




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                                                Nicole Ostemian
                                                Special Agent
                                                Homeland Security Investigations




Swom in accordance with the requirement of Fed. R. Grim. P. 4.1. by telephone at
/£ : f 5' ^\^ on this ^^dayof/f^_^2025, in the District of Puerto Rico.




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HON. MARCOS K LWEZ
UNFTED STATES MAGISTRATE JUDGE
DISTRICT OF PUERTO RICO
